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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

UNITED STATES OF AMERICA,                                   )
                                                            )
v.                                                          )
                                                            )
REAL PROPERTY LOCATED AT                                    )       CIVIL ACTION NO. :
2206 BAY VIEW DRIVE,                                        )
JONESBORO, GEORGIA, ET AL                                   )       1:18-CV-4054-SCJ
     Defendant,                                             )
                                                            )
v.                                                          )
                                                            )
ANYTIME BAIL BONDING,                                       )
    Claimant.                                               )

                       NOTICE OF SUBSTITUTION OF COUNSEL
          COME NOW Brian Steel and Colette Resnik Steel and hereby file this Notice
of Substitution of Counsel as counsel for Claimant, Anytime Bail Bonding, in the
above-styled case. All pleadings and official Court notices should be sent to the
address below.
          This 25th day of March, 2022.

                                                            Respectfully submitted,

                                                            /s/ Brian Steel
                                                            BRIAN STEEL
                                                            GA Bar No. 677640

                                                            s/ Colette Resnik Steel
                                                            COLETTE RESNIK STEEL
                                                            GA Bar No. 601092

                                                            Attorneys for Claimant

     The Steel Law Firm, P.C. 1800 Peachtree Street, N.W., Suite 300, Atlanta, Georgia 30309 (404) 605-0023

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                              CERTIFICATE OF SERVICE

      I hereby certify that I have served the foregoing NOTICE OF

SUBSTITUTION OF COUNSEL on the individual listed below by electronic filing:

                                 Kelly Kathleen Connors
                              United States Attorney’s Office
                               Richard B. Russell Building
                                         6th Floor
                                   75 Ted Turner Drive
                                    Atlanta, GA 30303

      This the 25th day of March, 2022.

                                                        Respectfully submitted,


                                                        /s/ Brian Steel
                                                        BRIAN STEEL
                                                        GA Bar No. 677640
                                                        Attorney for Defendant




 The Steel Law Firm, P.C. 1800 Peachtree Street, N.W., Suite 300, Atlanta, Georgia 30309 (404) 605-0023

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